963 F.2d 1522
    Reyesv.Keane
    NO. 91-2504
    United States Court of Appeals,Second Circuit.
    Apr 24, 1992
    
      1
      Appeal From:  D.N.Y.
    
    
      2
      AFFIRMED.
    
    
      3
      Federal Reporter.  The Second Circuit provides by rule for
    
    
      4
      disposition by summary order when a decision is unanimous
    
    
      5
      and each judge believes that 'no jurisprudential purpose
    
    
      6
      would be served by a written opinion.' Decisions without
    
    
      7
      formal opinions 'shall not be cited or otherwise used in
    
    
      8
      unrelated cases.' Second Circuit Rules, § 0.23, 28 U.S.C.A.)
    
    